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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA,

                                Plaintiff,                    Case No.: 4:21-CV-437 RLW
                        V.

 ERIC ANTHONY NEPUTE, et al.,

                                Defendants.




                               AGREED ORDER RESOLVING
                  UNITED STATES' MOTION FOR CIVIL CONTEMPT

        The parties appeared before this Court for a hearing to show cause why Defendant Dr. Eric

Nepute should not be held in civil contempt on December 19, 2022. See ECF No. 50 & 133. After

conferring that day, the parties reached an agreement to resolve that motion without the ne~d for

an evidentiary hearing, and the parties respectfully and jointly submit this agreed order to resolve

the United States' motion for civil contempt.

        THEREFORE, IT IS ORDERED as follows:

   I.      Defendant Nepute shall use his best efforts to remove any recording of the daily radio

           show known as "Real Talk with Dr. Eric Nepute" airing on KRTK (93.3 FM) and

           affiliated stations (the "Radio Show") that contains a statement prohibited by the

           Consent Order when made in connection with the advertising of Wellness Warrior

           Products, ECF No. 15, from any website or other media controlled by Quickwork,
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              Nepute, or the Radio Station, 1 which was identified as unlawful in the United States'

              motion to show cause or motion for summary judgment. This includes, but is not

              limited to, the February 4, 2022, February 7, 2022, February 15, 2022, Februacy" 16,

              2022, February 17, 2022, and February 21 , 2022 Radio Show recordings.

   II.        The United States shall notify Defendant Nepute of any other Radio Show recordings

              that contain a prohibited statement in connection with the advertising of Wellness

              Warrior Products and shall ask Nepute to use his best efforts to remove such stattjments
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              from any website or other media controlled by Quickwork, Nepute, or the Radio

              Station. Nepute shall have an opportunity to contest the United States' designation of

              any such statements as being prohibited by the Consent Order, and the parties shall try

              to resolve any dispute without judicial intervention. Should the parties be un~ble to

              resolve any such dispute, the United States may raise the dispute with the Court.

   III.       Within ten days of the date of entry of this Order, Defendant Nepute shall serve the

              United States with a declaration made under penalty of perjury, 28 U.S.C. § 1746,

              confirming that such recordings covered in Section I have been removed from any

              website or other media controlled by Quickwork, Nepute, or the Radio Station, and

              Nepute shall detail in that declaration the best efforts that he has taken to have those

              prohibited statements removed. If needed, the United States may file the declaration

              with the Court for compliance purposes.

   IV.        In connection with making claims prohibited by the Consent Order, ECF Np. 15,

              Defendant Nepute shall not wear gear or logos, or reference, "Wellness Warrior,"




       This includes, but is not limited to, the Real Talk 93.3 FM Website, Facebook, and
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CloutHub accounts.

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        freevitamindeals.com, or any other website or media belonging to Quickwork or

        Nepute that sells Wellness Warrior products, and he shall not wear such gear or logos

        in pictures that appear in images on the website that posts the Radio Show.

  V.    Beginning ten days after the date of the Court' s order, Defendant Nepute shall pay to

        the Court a coercive fine of $500 each day if the violative content covered by this order

        has not been removed from all websites or other media controlled by Quickwork,

        Nepute, or the Radio Station, or ifNepute has not filed with the Court a declara~ion(s)

        signed by him that demonstrates that he has made best efforts to cause the Radio Station

        or other media to remove such violative content and identifying all recordings tl}.at are

        still publicly available and all websites or other media on which such recordings

        remain. All such recordings must be identified by name, date, any website(s) on which

        they are posted, and the URL of that website.

 VI.    Defendant Nepute shall pay to the Court a coercive fine for any future violations of the

        Consent Order. The first future violation shall be subject to a $500 coercive fine . For

        each additional violation thereafter, the fine shall increase by $500 per violation (e.g.,

        the fine for the second violation shall be $1 ,000, and the fine for the third violation

        shall be $1 ,500).

 VII.   For each and any future violation, including those that the United States notifi~s him

        about pursuant to Section II, Defendant Nepute shall (i) exercise best efforts to cause

        the removal of any recordings containing violative content that are publicly available

        in accordance with Sections I and II; and (ii) within ten days of the Court' s order

        adjudging violations, cause to be filed a declaration with the Court that complies with

        Section I and II. Defendant Nepute shall pay to the Court a daily coercive fine in the




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          amount calculated in accordance with Section VI, unless Nepute has taken one of the

          three following actions: (i) removed all violative content from all media contro]led by

          Nepute, his agents, officers, employees, all other persons and entities in active oncert
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          or participation with him, or the Radio Station; (ii) provided to the United Slates a
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          declaration signed by N epute and demonstrating that he has made best efforts to remove

          or cause the removal of all violative content and identifying all such efforts and content;

          or (iii) provided the United States with a written statement that disputes in detail the

          designation of certain statements that the United States has identified as prohibited by

          this order. All content referenced in this paragraph must be identified by name, date,

          any website(s) on which it is posted, and the URL of that website.

  VIII.   Nepute agrees for purposes of resolving the contempt motion that the phrafe "in

          connection with the advertising of Wellness Warrior Products" includes wf aring

          Wellness Warrior gear, references to freevitamindeals .com, and references to any other

          website or media belonging to Quickwork or Nepute that sells Wellness Warrior

          products.

 IX.      Neither the United States nor Defendant Nepute admits liability or makes any

          concession in this Order, and this Order will not be admissible in any filed document

          or judicial proceeding except to enforce the terms of this Order. The parties have made

          this agreement solely to resolve the United States' civil contempt motion thatI was

          noticed for December 19, 2022.




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      SO AGREED:

                                          FOR THE UNITED STATES OF
                                          AMERICA:

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                                          Counsel for Eric Nepute




                                          ERICNEPUTE

                                          On behalf of himself




     IT IS SO ORDERED.

     DATEDtl:ris/1':r~                    , 2023.




                                    -z?_d71/}a/~
                                   RONNIE L. WHITE
                                   UNITED STATES DISTRICT COURT JUDGE




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